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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND

 Karen Darke
                              Plaintiff(s)                                      1:21-cv-00158-JJM-PAS
                                                                    Case No.:
                         v.
 James Mataronas, et al.
                              Defendant(s)


                                 MOTION FOR ADMISSION PRO HAC VICE
                Samuel P. Blatchley
           I,                                              , am a member in good standing of the bar of this
                                                        Daniel C. Kelley, Esq.
 Court. I am moving for the admission of Attorney                                                           to
                                                 Defendant, James Mataronas
 appear pro hac vice in this case as counsel for _______________________________________________.

           I certify that I have reviewed the below information provided by the prospective admittee. I

 acknowledge and agree to observe the requirements of LR Gen 204 in its entirety and as it relates to the

 participation and responsibilities of local counsel.

 LOCAL COUNSEL:
 Samuel P. Blatchley                                         /s/ Samuel P. Blatchley
 Name                                                        Signature
 8284                                                        07/26/2021
                                                             12/16/2013
 Bar Number                                                  Date
 Holbrook & Murphy                                           617-428-1151
 Firm/Agency                                                 Telephone Number
 238 Lewis Wharf                                             617-428-6919
 Address                                                     Fax Number
 Boston, MA 02110                                            sblatchley@holbrookmurphy.com

 City, State, Zip Code                                       E-mail Address


                                To be completed by the Prospective Admittee
 I am a member in good standing of the bar of every state and federal court to which I have been admitted,
 and my eligibility to practice before those courts has not been restricted in any way (list courts below.)
   State or Federal Court        Admission Date               State or Federal Court         Admission Date
       Massachusetts               11/28/2018
  District of Massachusetts         2/12/2019
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                            To be completed by the Prospective Admittee

 If you answer yes to any of the below questions, you must provide a full explanation as an attachment.

 Have you ever been disciplined or sanctioned by any court or other                    YES           NO
 body having disciplinary authority over attorneys?                                                   ✔
 Are there any disciplinary proceedings pending against you at this                    YES           NO
 time?                                                                                                ✔
                                                                                       YES           NO
 Has your pro hac vice status ever been revoked by any court?                                         ✔
 Excluding traffic violations punishable by fine only, have you ever                   YES           NO
 been convicted of, or entered a plea of no contest to, any crime?                                    ✔
                                                                                       YES           NO
 Are there any criminal charges pending against you at this time?
                                                                                                      ✔

                                       Certification and Signature

 For the purpose of this case, I have associated with local counsel identified in this motion, and have read,
 acknowledge, and will observe the requirements of this Court respecting the participation of local
 counsel, as set out in LR Gen 204, recognizing that failure to do so may result in my being disqualified,
 either upon the Court’s motion or motion of other parties in the case.
 I understand my obligation to notify this Court of any changed circumstances that affect my answers to
 the questions contained within this motion.
 I have read, acknowledge, and agree to observe and be bound by the local rules and orders of this Court,
 including the Rules of Professional Conduct of the Rhode Island Supreme Court, as adopted by this Court
 as the standard of conduct for all attorneys appearing before it. I hereby certify that the foregoing is true
 and correct.

 Respectfully submitted,

 PROSPECTIVE ADMITTEE:
 Daniel C. Kelley                                          /s/ Daniel C. Kelley
 Name                                                      Signature
 Holbrook & Murphy                                         617-428-1151
 Firm/Agency                                               Telephone Number
 238 Lewis Wharf                                           617-428-6919
 Address                                                   Fax Number
 Boston, MA 02110                                          dkelley@holbrookmurphy.com

 City, State, Zip Code                                     E-mail Address




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